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14                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ARIZONA
15
     United States of America,
16                                                      No. _________________
                          Plaintiff,
17
            v.                                          COMPLAINT
18
     State of Arizona; and Katie Hobbs, in her
19   official capacity as Arizona Secretary of State,

20                        Defendants.

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 1                                          COMPLAINT

 2   The United States of America, plaintiff herein, alleges:

 3          1.      In March 2022, Arizona enacted House Bill 2492 (“HB 2492”), omnibus

 4   legislation that imposes several restrictions on eligible U.S. citizens’ ability to register

 5   and to vote.

 6          2.      In this action, the United States challenges certain provisions of HB 2492

 7   on the basis that they violate Section 6 of the National Voter Registration Act of 1993

 8   (“NVRA” or the “Act”), 52 U.S.C. § 20505, and Section 101 of the Civil Rights Act of

 9   1964, 52 U.S.C. § 10101 (“Section 101”).

10          3.      One of HB 2492’s provisions violates the NVRA as interpreted by the U.S.

11   Supreme Court in Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1 (2013)

12   (ITCA). In that case, the Court rejected an earlier attempt by Arizona to impose a

13   documentary proof of citizenship (“DPOC”) requirement on applicants who register to

14   vote using the mail voter registration form prescribed by the U.S. Election Assistance

15   Commission (called the “Federal Form”).

16          4.      HB 2492 contravenes settled law insofar as it requires Arizona registrants

17   using the Federal Form to also submit burdensome documentary proof of U.S. citizenship

18   to local election officials if those officials cannot otherwise confirm the applicant’s

19   citizenship status.

20          5.      The NVRA prohibits this: If a citizen submits a valid and complete Federal

21   Form, the Act requires states to accept and use that Form to register an applicant for all
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 1   federal elections. The NVRA specifically precludes any state requirement that an

 2   applicant seeking to register to vote using a Federal Form also submit DPOC.

 3          6.     Specifically, HB 2492 unlawfully impacts both of Arizona’s two classes of

 4   registered voters: those voters who are entitled to vote only in federal elections (“federal-

 5   only voters”) and those who are entitled to vote in both state and federal elections (“full-

 6   ballot voters”).

 7          7.     “Federal-only voters” are those who register to vote using the Federal

 8   Form—a uniform federal form states like Arizona must use to register voters for federal

 9   elections.

10          8.     HB 2492 also violates the “Materiality Provision” of Section 101 of the

11   Civil Rights Act of 1964, which bars officials from rejecting voter registration

12   applications based on errors or omissions that are not material to establishing an

13   individual’s qualifications to vote. 52 U.S.C. § 10101(a)(2)(B).

14          9.     The Federal Form already includes an attestation demonstrating a

15   prospective voter’s citizenship, which Arizona continues to accept for in-person voting in

16   congressional elections. Whether a prospective voter is able to provide DPOC, in

17   addition to this attestation, is not material to whether that voter is qualified to vote by

18   mail or in presidential elections. But HB 2492 denies applicants using the Federal Form

19   the right to vote by mail or in presidential elections unless they provide DPOC.

20          10.    HB 2492 also requires election officials to reject voter registration

21   applications even when a voter provides DPOC with the application if the voter fails to

22   also check a box indicating that the voter is a citizen. Whether voters who have already
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 1   proven that they are U.S. citizens fail to check this box, through error or omission, is not

 2   material to establishing their qualifications to vote.

 3          11.    And under HB 2492, election officials will reject any State voter

 4   registration form that fails to include the prospective voter’s place of birth. Birthplace

 5   has never been a required indicator of citizenship on Arizona voter registration forms.

 6   And for good reason: that information is not material to establishing a voter’s

 7   qualifications because of naturalization and expatriation patterns, among other factors.

 8          12.    The Attorney General of the United States brings this action for declaratory

 9   and injunctive relief pursuant to Section 6 of the NVRA, 52 U.S.C. § 20505, and Section

10   101, 52 U.S.C. § 10101.

11                                JURISDICTION AND VENUE

12          13.    This Court has original jurisdiction over this action under 28 U.S.C.

13   §§ 1331, 1345, and 2201(a) and 52 U.S.C. §§ 20510(a) and 10101(d).

14          14.    Venue is proper in this Court under 28 U.S.C. §§ 82 and 1391(b).

15                                             PARTIES

16          15.    The NVRA authorizes the Attorney General of the United States to bring

17   civil actions on behalf of the United States of America in an appropriate district court for

18   such declaratory or injunctive relief as is necessary to carry out the Act. 52 U.S.C.

19   § 20510(a). The Civil Rights Act of 1957 authorizes the Attorney General to file a civil

20   action on behalf of the United States of America seeking injunctive, preventive, and

21   permanent relief for violations of Section 101. 52 U.S.C. § 10101(c).
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 1          16.    Defendant State of Arizona is one of the states of the United States of

 2   America. The State of Arizona is subject to the requirements of the NVRA. 52 U.S.C.

 3   § 20502(4). The State is also subject to Section 101. 52 U.S.C. § 10101(c) (authorizing a

 4   state to be joined as a defendant when any state official or subdivision is alleged to have

 5   violated Section 101).

 6          17.    Defendant Katie Hobbs is the Arizona Secretary of State. The Arizona

 7   Secretary of State is the chief state election officer. Ariz. Const. art. V, § 9; Ariz. Rev.

 8   Stat. § 16-142. In this role, Secretary Hobbs is responsible for coordinating state

 9   responsibilities under the NVRA, Ariz. Rev. Stat. § 16-142(A)(1), and helping enforce

10   HB 2492, see HB 2492 § 7 (adding Ariz. Rev. Stat. § 16-143). Secretary Hobbs is sued

11   in her official capacity.

12                                    LEGAL FRAMEWORK

13   Section 6 of the NVRA

14          18.    Section 6 of the NVRA requires Arizona to “accept and use” a complete

15   and valid Federal Form to register an applicant to vote in all federal elections. 52 U.S.C.

16   § 20505(a)(1).

17          19.    Under the NVRA, federal elections include both congressional and

18   presidential elections. Id. § 20502(2); see also id. § 30101(3).

19          20.    The Election Assistance Commission (“EAC”) develops the Federal Form

20   and prescribes its contents in consultation with the chief election officers of the states.

21   Id. § 20508(a).
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 1          21.    The Federal Form contains “only such identifying information (including

 2   the signature of the applicant) and other information (including data relating to previous

 3   registration by the applicant), as is necessary to enable the appropriate State election

 4   official to assess the eligibility of the applicant and to administer voter registration and

 5   other parts of the election process.” Id. § 20508(b)(1).

 6          22.    The Federal Form specifies that an applicant must be a United States citizen

 7   to vote in federal elections, requires the applicant to attest to the applicant’s citizenship,

 8   and requires the applicant to sign the form under penalty of perjury. Id. § 20508(b)(2).

 9          23.    The Federal Form does not require additional DPOC because that

10   information is not necessary to prove citizenship.

11          24.    As long as an individual completes the Federal Form and meets all its

12   requirements, and is otherwise eligible to vote, states must register that individual to vote

13   in all federal elections in the state, including presidential elections.

14   The Materiality Provision of the Civil Rights Act of 1964

15          25.    The Materiality Provision of Section 101 prohibits any person “acting

16   under color of law” from “deny[ing] the right of any individual to vote in any election

17   because of an error or omission on any record or paper relating to any application,

18   registration, or other act requisite to voting, if such error or omission is not material in

19   determining whether such individual is qualified under State law to vote in such

20   election.” 52 U.S.C. § 10101(a)(2)(B).
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 1                                 FACTUAL ALLEGATIONS

 2   Arizona Demographics

 3          26.    According to 2016-2020 American Community Survey (“ACS”) estimates,

 4   more than 5 million Arizona citizens of voting age are potentially eligible to vote. Of

 5   these potential voters, nearly 4.3 million are registered to vote. Ariz. Sec’y of State, State

 6   of Arizona Registration Report: 2022 April Voter Registration (April 1, 2022), available

 7   at Perma | azsos.gov.

 8          27.    On information and belief, thousands of these voters are registered to vote

 9   in federal elections only.

10          28.    The 2016-2020 ACS estimates that Arizona’s population includes 428,788

11   naturalized citizens (5.9%), 101,135 native citizens born outside of the United States

12   (1.4%) (including those born in Puerto Rico or U.S. island areas), and 3,285,498 native

13   citizens born in another state in the United States (45.7%).

14   Arizona House Bill 2492

15          29.    Arizona Governor Doug Ducey signed HB 2492 into law on March 30,

16   2022, and it goes into effect on January 1, 2023. HB 2492 amends several sections of

17   Arizona’s election code relating to voter registration.

18          30.    A prospective voter in Arizona must “be a citizen of the United States of

19   the age eighteen years or over, and shall have resided in the state” for a prescribed period

20   of time. Ariz. Const. art VII, § 2, cl. A. Prospective voters must also be able to write

21   their names or make a mark (unless unable to do so due to physical disability), have not

22   been convicted of treason or a felony (unless their rights have been restored), and have
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 1   not been adjudicated to be incapacitated. Ariz. Rev. Stat. § 16-101.

 2          31.    HB 2492 requires more. It obliges prospective voters applying for voter

 3   registration using the Federal Form to submit DPOC if election officials are unable to

 4   confirm the applicant’s citizenship by way of steps mandated by HB 2492. See HB 2492

 5   § 4 (amending Ariz. Rev. Stat. § 16-121.01).

 6          32.    HB 2492 further requires all voter registration applications, including those

 7   accompanied by satisfactory DPOC, to include “a checkmark or other appropriate mark

 8   in the ‘Yes’ box next to the question regarding citizenship,” or they will be rejected. Id.

 9          33.    HB 2492 also requires prospective voters applying for voter registration

10   using an Arizona-specific form (“State Form”) to list their birthplace. Id.

11          34.    Finally, voters who are already registered to vote using the Federal Form

12   must nonetheless provide DPOC if they wish to vote in presidential elections or by mail.

13   HB 2492 § 5 (adding Ariz. Rev. Stat. § 16-127).

14          35.    HB 2492 does not impose DPOC requirements on federal-only voters who

15   wish to vote in congressional elections in person.

16   HB 2492’s DPOC Requirements

17          36.    HB 2492 requires election officials to take additional actions concerning

18   the citizenship of individuals who register to vote using the Federal Form by using “all

19   available resources to verify the citizenship status of the applicant.” HB 2492 § 4 (adding

20   Ariz. Rev. Stat. § 16-121.01(D)). At a minimum, officials must compare these applicants

21   with the following list of databases, provided the county has access:

22                      a.    The Department of Transportation databases of Arizona driver
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 1                            licenses or nonoperating identification licenses;

 2                      b.    The Social Security Administration databases;

 3                      c.    The United States Citizenship and Immigration Services

 4                            Systematic Alien Verification for Entitlements Program, if

 5                            practicable;

 6                      d.    A National Association for Public Health Statistics and

 7                            Information Systems Electronic Verification of Vital Events

 8                            System; and

 9                      e.    Any other state, city, town, county, or federal database and any

10                            other database relating to voter registration to which the county

11                            recorder or officer in charge of elections has access, including an

12                            Electronic Registration Information Center database.

13          37.    If election officials verify a Federal Form applicant’s citizenship status, and

14   the applicant is otherwise eligible to vote, then the applicant is registered to vote in

15   federal elections only. Id. (adding Ariz. Rev. Stat. § 16-121.01(E)). If election officials

16   obtain information alleging that the applicant is not a citizen, then the election officials

17   must reject the application, notify the applicant of the rejection, and forward the

18   application to the county attorney and State attorney general for investigation. Id.

19          38.    But if election officials cannot verify the applicant’s citizenship status, then

20   they must take the additional step of notifying the applicant and the applicant must

21   produce DPOC. Id.; Ariz. Rev. Stat. § 16-166(F) (listing HB 2492-mandated documents

22   to prove citizenship).
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 1          39.    If the applicant fails to produce DPOC, then the applicant cannot vote in a

 2   presidential election or by mail ballot. HB 2492 § 4 (adding Ariz. Rev. Stat. § 16-

 3   121.01(E)). The applicant can vote in congressional elections, but only by casting a

 4   ballot in person.

 5          40.    HB 2492 also prohibits any previously registered federal-only voter who

 6   has not produced DPOC from voting in presidential elections or by mail. Id. § 5 (adding

 7   Ariz. Rev. Stat. § 16-127). Those registered voters can continue to vote in congressional

 8   elections, but only by casting a ballot in person.

 9   Arizona cannot require applicants completing the Federal Form who seek to vote in

10   federal elections to submit DPOC

11          41.    Arizona has already tried and failed to impose a DPOC requirement on

12   federal-only voters. In 2004, Arizona voters approved Proposition 200, which imposed a

13   DPOC requirement on all voter registration applicants regardless of whether they

14   registered to vote using the Federal or State Form.

15          42.    The United States Supreme Court ultimately held that Proposition 200

16   violated the NVRA. See ITCA, 570 U.S. at 20. The Court prohibited Arizona from

17   requiring prospective voters using the Federal Form to submit anything more than the

18   form requires.

19          43.    Arizona thereafter unsuccessfully attempted to persuade the EAC to

20   approve the addition of DPOC requirements on the State-specific instructions to the

21   Federal Form. Kobach v. U.S. Election Assistance Comm’n, 772 F.3d 1183 (10th Cir.

22   2014), cert. denied, 576 U.S. 1055 (2015).
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 1          44.    The EAC rejected those requests because it found that DPOC was not

 2   necessary to determine an applicant’s citizenship. Id. at 1188.

 3          45.    During hearings on HB 2492, State nonpartisan legislative counsel warned

 4   Arizona legislators that the NVRA preempts HB 2492’s DPOC requirement for federal-

 5   only voters and that imposing such a requirement would directly contravene the Supreme

 6   Court’s decision in ITCA.

 7          46.    When voting to approve the bill in Committee, Vice-Chair of the Arizona

 8   House Rules Committee and House Speaker Pro Tempore Travis Grantham

 9   acknowledged that Congress and the Supreme Court had invalidated the State’s past

10   efforts to impose DPOC on federal-only voters, but stated that trying again “is a fight

11   worth having.”

12          47.    Requiring DPOC of voters who have already completed the Federal Form’s

13   citizenship attestation also violates the Materiality Provision of Section 101. Arizona

14   accepts that attestation is sufficient proof of citizenship for in-person voters in

15   congressional elections and does not consider whether these voters have provided DPOC.

16   Since providing DPOC is not material to establishing whether a voter can vote in-person

17   or in congressional elections, it cannot be material to establishing whether a voter is

18   qualified to vote by mail or in presidential elections.

19   Birthplace Requirement

20          48.    Arizona law dictates the contents of the State Form that voters must

21   complete to register as full-ballot voters. Ariz. Rev. Stat. § 16-152(A). Among other

22   things, the State Form includes a space for a voter’s state or country of birth. Id. § 16-
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 1   152(A)(7).

 2          49.    Prior to HB 2492, applicants did not need to complete the portion of the

 3   State Form asking for their state or country of birth to successfully register to vote in

 4   Arizona. Id. § 16-121.01(A). In fact, the State’s current Elections Procedures Manual

 5   still provides that “Failure to provide state or country of birth . . . does not invalidate the

 6   State Form.” Ariz. Sec’y of State, 2019 Elections Procedures Manual at 19 (Dec. 2019),

 7   available at Perma | azsos.gov. HB 2492 changed that. HB 2492 imposes new

 8   requirements on applicants who, for the first time, must provide their birthplace on the

 9   State Form. Under HB 2492, election officials are prohibited from processing otherwise-

10   eligible applicants’ voter registration forms if the applicants do not provide their place of

11   birth. HB 2492 § 4 (amending Ariz. Rev. Stat. § 16-121.01(A)). “[A]ny application that

12   does not include” the registrant’s place of birth “is incomplete[.]” Id.

13          50.    Upon receiving an application that is missing a place of birth, county

14   elections officials must “notify the applicant” and “not register the voter until all of the

15   information,” including a place of birth, “is returned.” Id. Accordingly, voters who do

16   not provide a birthplace are not registered to vote.

17          51.    A prospective registrant’s birthplace is not material to determining that

18   person’s qualifications to vote.

19          52.    Individuals born outside the country can nonetheless be native citizens if

20   born to United States citizen parents or they may acquire citizenship through the

21   naturalization process.

22          53.    Birthplace is likewise immaterial to establishing a registrant’s residency.
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 1   Where an individual was born 18 or more years before attempting to register to vote

 2   bears no connection to where that individual resides today.

 3          54.    Nor does birthplace help identify a voter. The State of Arizona was able to

 4   identify voters prior to HB 2492’s passage without requiring the voters’ birthplace.

 5          55.    By requiring rejection of State Forms that lack a birthplace but are

 6   otherwise complete, HB 2492 mandates rejection of records or papers relating to

 7   application or registration requisite to voting based on errors or omissions that are not

 8   material to determining whether a voter is qualified to vote.

 9          56.    Rejection of registration applications based on these immaterial errors or

10   omissions will deny eligible individuals the right to vote, and therefore violates the

11   Materiality Provision of Section 101.

12   Citizenship Checkbox Requirement

13          57.    HB 2492 also requires election officials to reject registration applications

14   that lack a checkmark indicating citizenship. Id. Upon receiving an application without a

15   checkmark, county elections officials must “notify the applicant” and “not register the

16   voter until all of the information,” including the checkmark, “is returned.” Id.

17          58.    This requirement applies even to applications where the applicants have

18   already attested to their citizenship under penalty of perjury, and to applications

19   accompanied by DPOC, which HB 2492 itself describes as “satisfactory evidence of

20   citizenship.” HB 2492 § 1 (amending Ariz. Rev. Stat. § 16-101).

21          59.    For voters who submit DPOC, this checkmark has no bearing on whether

22   they are qualified to vote. Instead, the checkmark provision amounts only to a technical
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 1   requirement that voters be able to read and precisely follow instructions on how to fill out

 2   a form. A voter’s ability to read and follow such instructions is not material to that

 3   voter’s qualifications to vote.

 4          60.     By requiring State and Federal Forms that are accompanied by DPOC to be

 5   rejected if they lack a checkmark in the citizenship box, HB 2492 again mandates

 6   rejection of records or papers relating to application or registration requisite to voting

 7   based on errors or omissions that are not material to a voter’s qualifications.

 8          61.     Such rejections deny qualified individuals the right to vote.

 9                                     FIRST CAUSE OF ACTION

10          62.     The United States realleges and incorporates by reference the allegations

11   set forth above.

12          63.     Section 6 of the NVRA requires Arizona to register to vote for all elections

13   for federal office, including presidential elections, all qualified applicants who submit

14   valid and complete Federal Forms. Those Forms preclude Arizona from requiring an

15   applicant to submit DPOC as a prerequisite to voting in elections for federal office,

16   including presidential elections.

17          64.     HB 2492 violates Section 6 of the NVRA because it requires federal-only

18   applicants to provide more than is necessary—in this case, DPOC—to prove their

19   eligibility to vote in presidential elections or vote by mail.

20          65.     Unless enjoined by order of this Court, Defendants will continue to violate

21   the NVRA by implementing and enforcing HB 2492’s DPOC requirements for federal-

22   only voters.
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 1                                SECOND CAUSE OF ACTION

 2          66.    The United States realleges and incorporates by reference the allegations

 3   set forth above.

 4          67.    The Materiality Provision of Section 101 of the Civil Rights Act of 1964

 5   prohibits state officials from rejecting registration applications because of errors or

 6   omissions that are not material to determining an individual’s qualifications to vote. 52

 7   U.S.C. § 10101(a)(2)(B). Section 4 of HB 2492 violates the Materiality Provision by

 8   barring election officials from registering a prospective voter if the voter’s application

 9   for registration on the State Form does not include the voter’s birthplace. An applicant’s

10   place of birth is not material to determining whether that applicant meets Arizona’s voter

11   qualification requirements. See Ariz. Const. art VII, § 2, cl. A; Ariz. Rev. Stat. § 16-101.

12          68.    Section 4 of HB 2492 further violates the Materiality Provision by barring

13   election officials from registering prospective voters who have already provided DPOC if

14   those voters do not also check a box on the State or Federal Form indicating that they are

15   citizens. Whether voters who have provided DPOC but who, through error or omission,

16   have not followed instructions relating to this checkbox is not material to determining

17   whether those voters meet Arizona law’s qualifications to vote.

18          69.    Section 4 of HB 2492 also violates Section 101 by barring election officials

19   from allowing prospectively-registered federal-only voters to vote in presidential

20   elections or to vote by mail with an early ballot if they do not provide DPOC. Such

21   voters may only vote in congressional elections in person. Whether voters have provided

22   DPOC, in addition to an attestation of citizenship on the Federal Form, is not material to
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 1   determining whether they are qualified to vote in presidential elections or vote by mail

 2   with an early ballot.

 3          70.    Finally, Section 5 of HB 2492 violates Section 101 by barring already-

 4   registered federal-only voters from voting in presidential elections or voting by mail

 5   unless they submit DPOC. Whether voters have provided DPOC once they have already

 6   registered using the Federal Form is not material to determining whether they are

 7   qualified to vote in presidential elections or by mail with an early ballot.

 8          71.    Unless enjoined by order of this Court, Defendants will continue to violate

 9   Section 101 by implementing and enforcing Sections 4 and 5 of HB 2492.

10                                    PRAYER FOR RELIEF

11          WHEREFORE, the United States prays that the Court enter an order:

12          (1)    Declaring that Sections 4 and 5 of House Bill 2492 violate Section 6 of the

13   National Voter Registration Act of 1993, 52 U.S.C. § 20505(a)(1);

14          (2)    Declaring that Sections 4 and 5 of House Bill 2492 violate Section 101 of

15   the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B);

16          (3)    Enjoining Defendants, their agents and successors in office, and all persons

17   acting in concert with them from enforcing the requirements of Sections 4 and 5 of House

18   Bill 2492 that violate Section 6 of the National Voter Registration Act of 1993, 52 U.S.C.

19   § 20505(a)(1);

20          (4)    Enjoining Defendants, their agents and successors in office, and all persons

21   acting in concert with them from enforcing the requirements of Sections 4 and 5 of House

22   Bill 2492 that violates Section 101 of the Civil Rights Act of 1964, 52 U.S.C.
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 1   § 10101(a)(2)(B);

 2          (5)    Directing Defendants, their agents and successors in office, and all persons

 3   acting in concert with them to take appropriate action to ensure uniform compliance with

 4   this Court’s order by state, county, and local authorities administering the State’s

 5   electoral processes;

 6          (6)    Granting such additional relief as the interests of justice may require.

 7

 8   Date: July 5, 2022                         Respectfully submitted,

 9

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